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6

7                      UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF WASHINGTON AT RICHLAND
8
      VERNIE L. CARLSON,                         Case No. 4:21- CV-5068
9
                           Plaintiff,
10                                               COMPLAINT FOR DAMAGES
11    v.
                                                 DEMAND FOR JURY TRIAL
12    BNSF RAILWAY COMPANY, a
      Delaware Corporation,
13

14                         Defendant.

15
           COMES NOW, Plaintiff Vernie L. Carlson (“Plaintiff” or “Mr. Carlson”),
16
     by and through his undersigned counsel, and for his claims against Defendant
17

18   BNSF Railway Company, a Delaware Corporation (“BNSF”) hereby states and

19   alleges as follows:
20
                                PARTES & JURISDICTION
21
           1.     At all material times, Mr. Carlson was, and remains, a resident of the
22
     State of Washington, and he lives within the Eastern District of Washington.
23

24    COMPLAINT FOR DAMAGES - 1                                    ROSSI VUCINOVICH               P.C.
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1          2.       At all material times, Defendant was and is a corporation duly
2    organized and existing under the laws of the state of Delaware, and was operating
3
     a system of railroad tracks in the State of Washington and other states, and that said
4
     system included and includes lines of track in the Eastern District of Washington,
5
     where this action is filed and where the actions at issue herein are alleged to have
6

7    taken place.

8          3.       At all times material to this action, Defendant was an interstate carrier
9    by rail and was engaged in interstate transportation and commerce. Additionally,
10
     Mr. Carlson was employed by Defendant as a hostler helper and a leadman, and as
11
     such was working and engaged in interstate transportation and commerce at the
12
     times pertinent to this action, and at such times was working in the furtherance of
13

14   Defendant’s interstate commerce, in work which directly, closely, and substantially

15   affected the general interstate commerce carried on by said Defendant as a railroad
16   common carrier of freight for hire.
17
           4.       The jurisdiction of this Court is based upon Title 45 U.S.C. § 51 et
18
     seq., commonly known as the Federal Employers' Liability Act (“FELA”), and 45
19
     U.S.C. § 20302 et seq., commonly known as the Safety Appliance Act (“SAA”),
20

21   and this action is timely commenced in a proper venue within the meaning of 45

22   U.S.C. § 56, as Defendant operates rail lines within this judicial district and the
23   actions that led to this lawsuit are alleged to have occurred within this judicial
24    COMPLAINT FOR DAMAGES - 2                                      ROSSI VUCINOVICH               P.C.
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1    district.
2                                         VENUE
3
            5.    The Eastern District of Washington is the appropriate venue for this
4
     action pursuant to 29 U.S.C. § 1391(b)(2), as a substantial part of the events giving
5
     rise to this claim occurred in the Eastern District of Washington.
6

7                               STATEMENT OF FACTS

8           6.    Plaintiff was employed with BNSF and as a hostler at all relevant
9    times to this lawsuit.
10
            7.    This suit pertains injuries suffered by Mr. Carlson as a result of the
11
     negligence of Defendants on or about October 2, 2019.
12
            8.    On or about October 2, 2019, Plaintiff was working as a leadman for
13

14   BNSF in Pasco, Washington.

15          9.    Mr. Carlson was asked to assist with getting a train built, or put
16   together, and he went to do so.
17
            10.   Part of the task in which Mr. Carlson engaged was to connect air hoses
18
     from one locomotive to the next to ensure that the air braking system would
19
     perform in accordance with regulatory requirements, including, but not limited to,
20

21   the Safety Appliance Act, 49 U.S.C. § 20302 et seq. (the “SAA”).

22          11.   Air hoses are safety appliances under the SAA.
23          12.   The locomotives for which Mr. Carlson was connecting the air hoses
24    COMPLAINT FOR DAMAGES - 3                                    ROSSI VUCINOVICH               P.C.
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1    were set up back to back to one another, and had been successfully joined prior to
2    Mr. Carlson’s effort to connect the air hoses.
3
           13.    The locomotive numbers were BNSF 704 and BNSF 1874.
4
           14.    BNSF 704 had a short connector air hose, while BNSF 1874 had a
5
     longer connector hose.
6

7          15.    There were three air hose connectors at BNSF—short, long

8    (approximately a foot longer than the short), and what is referenced as a “dummy
9    hose” that is a short extender hose that fits between two hoses to extend them.
10
           16.    However, BNSF did not stock any long hoses at the Pasco roundhouse
11
     location at the time, and there were no dummy hoses at the roundhouse at the time
12
     either. Instead, only additional short hoses were available to use at that immediate
13

14   location.

15         17.    The reason there were no longer hoses available at the Pasco
16   roundhouse was that following a request to stock them, a BNSF foreman, Jake
17
     Brown, had indicated that they cost BNSF too much money to stock and BNSF
18
     wouldn’t pay for them.
19
           18.    The short hose on BNSF 704 was also stiff and seemed to have been
20

21   inadequately maintained and old.

22         19.    The short hose was thereby defective and/or insufficient for the task
23   required, namely to connect it to the next locomotive.
24    COMPLAINT FOR DAMAGES - 4                                   ROSSI VUCINOVICH               P.C.
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1             20.   Mr. Carlson strained and connected the short hose to the long hose,
2    but as he did so with significant effort, he felt a pop in his right arm and felt
3
     significant pain.
4
              21.   In that moment, Mr. Carlson had suffered severe injuries to his body
5
     that required prompt medical attention, including a torn bicep muscle and damage
6

7    to his arm attendant thereto.

8             22.   Mr. Carlson tried in vain to contact his supervisor, Joe Long, to obtain
9    medical attention, but he was nowhere to be found, and he did not respond to radio
10
     calls.
11
              23.   Mr. Carlson was forced to wait for another BNSF employee to arrive
12
     to take him to the hospital.
13

14                               FIRST CAUSE OF ACTION
                                    FELA NEGLIGENCE
15
              24.   Plaintiff hereby realleges and incorporates by reference the allegations
16
     contained in paragraphs 1 through 21 of this Complaint as though fully set forth
17

18   herein.

19            25.   Mr. Carlson’s injuries from the incident described occurring on or

20   about October 2, 2019 came as a direct result, in whole or in part, of the negligence
21
     of Defendant BNSF, and its agents, employees and officers, in violation of the
22
     FELA, 45 U.S.C. § 51 et seq.
23

24    COMPLAINT FOR DAMAGES - 5                                     ROSSI VUCINOVICH               P.C.
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1          26.      Among other acts of negligence to be proven at trial, Defendant BNSF
2    was negligent by its:
3
                 a. Failure to provide Plaintiff with a reasonably safe place in which to
4
                    work as required by law;
5
                 b. Failure to properly maintain the air hoses on BNSF’s locomotives;
6

7                c. Failure to stock replacement longer air hoses at the Pasco roundhouse

8                   as had been requested by BNSF employees previously;
9                d. Failure to stock dummy hoses at the Pasco roundhouse;
10
                 e. Failure to adequately train, direct, and warn employees, including
11
                    Mr. Carlson, as to the risks of physical harm associated with
12
                    connecting short air hoses; and
13

14               f. other acts of negligence to be proven at trial in this matter.

15         27.      As a direct result, in whole or in part, of the negligence of Defendant
16   BNSF in violation of the FELA, Plaintiff suffered severe, potentially permanent
17
     and disabling injuries, including, but not limited to, right biceps tear and repair
18
     surgery, frozen shoulder requiring further surgical repair, and other injuries to the
19
     tissues comprising Mr. Carlson’s right arm and shoulder; Plaintiff has suffered in
20

21   the past and will continue in the future to suffer pain and anguish and loss of

22   enjoyment of life. Mr. Carlson has also lost significant function in his right arm as
23   a result of the injuries he sustained on October 2, 2019, and his right arm is, or
24    COMPLAINT FOR DAMAGES - 6                                      ROSSI VUCINOVICH               P.C.
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1    rather was, his dominant arm.
2          28.    As a direct result, in whole or in part, of Defendant’s negligence in
3
     violation of the FELA, Plaintiff has also lost wages in the past, may continue to
4
     lose wages in the future, and has sustained a permanent diminution of his earning
5
     capacity, at least to some degree, and a loss of fringe benefits, each in amounts to
6

7    be proven by the evidence at the trial of this matter.

8          29.    In an effort to treat, heal, and relieve his injuries, Plaintiff has spent
9    and will continue to spend monies for medical-related care associated with this
10
     injury.
11
                             SECOND CAUSE OF ACTION
12                         FELA NEGLIGENCE UNDER SAA
13         1.     Plaintiff hereby realleges and incorporates by reference the allegations
14
     contained in paragraphs 1 through 29 of this Complaint as though fully set forth
15
     herein.
16
           2.     Mr. Carlson’s injuries from the incident described occurring on or
17

18   about October 2, 2019 came as a direct result, in whole or in part, of the negligence

19   of Defendant BNSF, and its agents, employees and officers, in violation of the

20   FELA, 45 U.S.C. § 51 et seq. and 45 U.S.C. § 20302 et seq.
21
           3.     Among other acts of negligence to be proven at trial, Defendant BNSF
22
     was negligent and violated the SAA and FELA by its:
23

24    COMPLAINT FOR DAMAGES - 7                                    ROSSI VUCINOVICH                P.C.
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1               a. Failure to provide Plaintiff with a reasonably safe place in which to
2                  work as required by law;
3
                b. Failure to properly maintain the air hoses on BNSF’s locomotives,
4
                   such that the hose(s) Plaintiff was required to work with was/were
5
                   defective or insufficient;
6

7               c. Failure to stock replacement longer air hoses at the Pasco roundhouse

8                  as had been requested by BNSF employees previously;
9               d. Failure to stock dummy hoses at the Pasco roundhouse;
10
                e. Failure to adequately train, direct, and warn employees, including
11
                   Mr. Carlson, as to the risks of physical harm associated with
12
                   connecting short air hoses; and
13

14              f. other acts of negligence to be proven at trial in this matter.

15         4.      As a direct result, in whole or in part, of the negligence of Defendant
16   BNSF in violation of the FELA and SAA, Plaintiff suffered severe, potentially
17
     permanent and disabling injuries, including, but not limited to, right biceps tear and
18
     repair surgery, frozen shoulder requiring further surgical repair, and other injuries
19
     to the tissues comprising Mr. Carlson’s right arm and shoulder; Plaintiff has
20

21   suffered in the past and will continue in the future to suffer pain and anguish and

22   loss of enjoyment of life. Mr. Carlson has also lost significant function in his right
23   arm as a result of the injuries he sustained on October 2, 2019, and his right arm is,
24    COMPLAINT FOR DAMAGES - 8                                     ROSSI VUCINOVICH               P.C.
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1    or rather was, his dominant arm.
2          5.     As a direct result, in whole or in part, of Defendant’s negligence in
3
     violation of the FELA and SAA, Plaintiff has also lost wages in the past, may
4
     continue to lose wages in the future, and has sustained a permanent diminution of
5
     his earning capacity, at least to some degree, and a loss of fringe benefits, each in
6

7    amounts to be proven by the evidence at the trial of this matter.

8          6.     In an effort to treat, heal, and relieve his injuries, Plaintiff has spent
9    and will continue to spend monies for medical-related care associated with this
10
     injury.
11
                                  REQUEST FOR RELIEF
12
           WHEREFORE, Plaintiff respectfully requests that judgment be entered
13

14   against the above-named Defendant for special and general damages in an amount

15   established by the evidence, together with all costs and disbursements, and other relief
16   the court may deem appropriate.
17
                                       JURY DEMAND
18
           Plaintiff hereby demands a jury of twelve of his peers.
19

20         Dated: April 23, 2021

21                                            ROSSI VUCINOVICH PC

22                                             s/ C. N. Coby Cohen
                                              C. N. Coby Cohen, WSBA # 30034
23                                            Attorney for Plaintiff
24    COMPLAINT FOR DAMAGES - 9                                     ROSSI VUCINOVICH                P.C.
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